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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,

                 Plaintiffs,

v.                                   Civil Action No. 1:22-cv-0481 (CJN)

UNITEDHEALTH GROUP
INCORPORATED, et al.,

                 Defendants.




DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION IN LIMINE TO EXCLUDE
  DEFENDANTS’ EXHIBITS OF NON-TESTIFYING THIRD PARTY WITNESSES
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                                       INTRODUCTION

       Plaintiffs’ motion in limine seeks to exclude relevant third-party documents, which

Plaintiffs claim lack “a sponsoring witness.” See Pls.’ Mot. in Limine to Exclude Defs.’ Exs. of

Non-Testifying Third Party Witnesses (“Mot.”) (ECF No. 75) at 2. Yet for all their hand-

wringing about the importance of introducing exhibits through live witnesses, Plaintiffs omit

from their motion that they requested—and received consent from UnitedHealth Group

Incorporated (UHG) and Change Healthcare Inc. (Change), subject to the Court’s views—to

admit unobjected-to UHG and Change documents without a sponsoring witness. Plaintiffs’

motion thus seems aimed at little more than excluding third-party documents that Plaintiffs

perceive as harmful to their case. It is a waste of the parties’ and the Court’s time and resources

to address documents that have not yet been offered (and may never be offered) into evidence.

In any event, Plaintiffs’ motion should be denied, or at a minimum deferred, because the exhibits

at issue: (i) do have sponsoring witnesses; (ii) are UHG or Change exhibits; and/or (iii) are not

hearsay (Fed. R. Evid. 803(6), 807) or are properly relied upon by an expert (Fed. R. Evid. 703).

These grounds for admissibility are non-exhaustive, and UHG and Change are not required to lay

the evidentiary foundation for nearly 100 exhibits in advance of trial.

                                      LEGAL STANDARD

       A federal district court has “inherent authority” to entertain motions in limine to address

evidentiary issues in advance of trial. United States ex rel. Morsell v. NortonLifeLock, Inc., 567

F. Supp. 3d 248, 258 (D.D.C. 2021) (citation omitted). “In deference to their familiarity with the

details of the case and greater experience in evidentiary matters, trial judges are afforded broad

discretion in rendering evidentiary rulings, a discretion that extends to assessing the probative

value of the proffered evidence and weighing any factors against admissibility.” 1443 Chapin

St., LP v. PNC Bank, N.A., 2012 WL 13225423, at *1 (D.D.C. Aug. 14, 2012). This discretion


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“extends not only to the substantive evidentiary ruling, but also to the threshold question of

whether a motion in limine presents an evidentiary issue that is appropriate for ruling in advance

of trial.” Id. “[I]n some instances it is best to defer rulings until trial, [when] decisions can be

better informed by the context, foundation, and relevance of the contested evidence within the

framework of the trial as a whole.” Id. (alterations in original) (citation omitted). “In the context

of a bench trial in particular, the need for an advanced ruling is generally unnecessary.” Id.

                                          ARGUMENT

I.      PLAINTIFFS’ MOTION VIOLATES LOCAL RULE 7’S MEET-AND-CONFER REQUIREMENT.

        Plaintiffs’ motion fails at the outset because it violates Local Civil Rule 7(m). Local

Civil Rule 7(m) provides: “[b]efore filing any nondispositive motion in a civil action, counsel

shall discuss the anticipated motion with opposing counsel in a good-faith effort to determine

whether there is any opposition to the relief sought and, if there is, to narrow the areas of

disagreement.” See D.D.C. L. Civ. R. 7(m). To ensure compliance with that obligation, Local

Civil Rule 7(m) further requires a party “include in its motion a statement that the required

discussion occurred, and a statement as to whether the motion is opposed.” D.D.C. L. Civ. R.

7(m).

        Plaintiffs did not even try to comply with their meet-and-confer obligations, nor did they

include in their motion a statement that those obligations were satisfied—both independent

reasons to deny Plaintiffs’ requested relief. “Courts in this [d]istrict have previously denied non-

dispositive motions for failure to comply with Local Civil Rule 7(m),” including motions in

limine. See English v. Washington Metro. Area Transit Auth., 293 F. Supp. 3d 13, 16 (D.D.C.

2017) (collecting cases); Abbott GmbH & Co. KG v. Yeda Rsch. & Dev. Co., 576 F. Supp. 2d 44,

47–49 (D.D.C. 2008). Perhaps Plaintiffs would have removed certain exhibits from their motion

following a meet and confer; perhaps not. But Plaintiffs short-circuited that process, forced


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UHG and Change to “spen[d] time and resources opposing [Plaintiffs’] motion,” and have made

it impossible for the Court to “determine the likelihood that an agreement may have been

reached.” See Abbott GmbH, 576 F. Supp. 2d at 49. Plaintiffs’ motion should be denied.

II.       PLAINTIFFS’ PREMATURE AND OVERBROAD REQUEST TO EXCLUDE RELEVANT THIRD-
          PARTY DOCUMENTS SHOULD BE DENIED.

          Plaintiffs’ motion prematurely and improperly asks for a pre-trial ruling that 99 exhibits

are not admissible in any form for any reason with any witness. Such a sweeping ruling is

premature at this stage, to say nothing of the fact that many of those exhibits have sponsoring

witnesses, are admissible, or otherwise may be relied upon by the parties’ experts. See 1443

Chapin St., 2012 WL 13225423, at *2 (“Ruling on [the] Motion in Limine at this time would . . .

require the Court to pile hypothetical upon conjecture upon speculation.”).

          First, Plaintiffs’ motion must be denied as to UHG or Change documents, documents that

do have a sponsoring witness at trial (whether via a live witness or deposition designations), or

documents nearly-identical to those for which a foundation already has been established:

         Party Documents: Although bearing a third-party Bates stamp, certain documents
          challenged by Plaintiffs are from UHG or Change (or their predecessors and affiliates),
          including presentations, letters, and contracts given to third parties or audits. See DX-
          0008; DX-0255; DX-0277; DX-0278; and DX-0755. Other exhibits are summary
          exhibits of commitment letters mailed to, and executed by, Change customers, templates
          of which appear on Plaintiffs’ own exhibit list. Compare DX-0765, DX-0766, and DX-
          0767, with PX-0700. Plaintiffs’ motion should be denied as to these documents.

         Deposition Documents: Contrary to Plaintiffs’ assertion that “Exhibit A does not include
          documents from third parties for which deposition testimony has been designated,” Mot.
          at 2 n.1, it clearly does. DX-0012, DX-0015 to DX-0016, DX-0026, and DX-0033 were
          used and designated, including in one instance by Plaintiffs themselves, in the testimony
          to be submitted from Anthem’s Rule 30(b)(6) deposition. Moreover, DX-0022 to DX-
          0025 and DX-0028 to DX-0030 are simply versions of the firewall policy contained at
          DX-0026 for various Anthem subsidiaries. There is no question that these documents are
          authentic, see Scheduling & Case Management Order (ECF No. 42) ¶ 19, and it is unclear
          what additional relevant foundation or context is needed for the admission of these
          documents. Plaintiffs’ motion therefore should be denied as to these documents.




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      Live Witness Documents: Plaintiffs also have objected to exhibits that could be used
       with fact witnesses at trial. Specifically, Plaintiffs have objected to Aetna-related
       documents, even though an Aetna employee is one of Plaintiffs’ first live witnesses, see
       DX-0008; DX-0758; Cigna documents, even though a Cigna employee is one of
       Plaintiffs’ first live witnesses, see DX-0757; and documents used in the Rule 30(b)(6)
       deposition of the U.S. Department of Health & Human Services—a UHG and Change
       trial witnesses—that are part of the administrative record on the transparency rules
       relevant to this case, see DX-0756; DX-0757; DX-0758.

       Second, the challenged documents are admissible. Setting aside the many non-truth

purposes for these documents, the lion’s share of the exhibits Plaintiffs seek to exclude are

contractual agreements, descriptions of EDI and payment integrity services, internal business

strategy documents and discussions, or data reflecting claims transactions that qualify as

business records under Federal Rule of Evidence 803(6), and are of the same kind that Plaintiffs

wish to admit without sponsoring witnesses from UHG and Change. See DX-0001; DX-0009 to

DX-0011; DX-0013; DX-0017 to DX-0020; DX-0032; DX-0034 to DX-0055; DX-0251 to DX-

0254; DX-0257; DX-0268 to DX-0269; DX-0272; DX-0274; DX-0276; DX-0279 to DX-0293;

DX-0405; DX-0735 to DX-0738. Plaintiffs do not seriously dispute that these documents are

business records. Instead, they make a “show your work” challenge, arguing that UHG and

Change must lay foundation through witness testimony for every third-party document that UHG

and Change seek to admit. But Plaintiffs fail to identify a single example of any document that

they (or the Court) would not be able to understand without foundational or other testimony, and

Plaintiffs’ approach here is notably inconsistent with their own intention to introduce hundreds

of UHG and Change documents without sponsoring witnesses.

       The challenged exhibits also are admissible under Federal Rule of Evidence 807, which

allows the admission of hearsay statements “supported by sufficient guarantees of

trustworthiness” that are “more probative on the point for which [they] [are] offered than” other

available evidence. See Fed. R. Evid. 807. Here, the documents at issue in Plaintiffs’ motion



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“were written during the normal course of business, they are straightforward, brief, and

unambiguous, and the [authors] are not parties to this action. Above all, there is absolutely no

evidence to suggest . . . that the [document] writers ha[d] any motive to support the position” of

Plaintiffs, on the one hand, and UHG or Change, on the other. See SEC v. Prince, 2012 WL

13076352, at *1 (D.D.C. Dec. 6, 2012). The Court has recognized that “[t]he availability of

nationwide service of process” under 15 U.S.C. § 23 “does not make a witness who is otherwise

‘unavailable’ for purposes” of the Federal Rules “available,” and has required the parties to

“minimize the burden on non-[p]arties” to this litigation. See Scheduling & Case Management

Order (ECF No. 42) ¶¶ 15, 23; see Prince, 2012 WL 13076352, at *2 (“[T]he authors of the

letters are not available to testify at trial . . . .”). Plaintiffs have not explained in concrete terms

what necessary, additive information third parties could provide if called to testify. Their motion

elevates form over substance, and as a consequence it should be denied or, at minimum,

deferred.

        Third, although unacknowledged in Plaintiffs’ motion, the parties’ experts are free to

disclose inadmissible evidence on which they rely in the course of a bench trial. As the Supreme

Court has explained, in bench trials, “the Federal Rules place no restriction on the revelation” of

otherwise inadmissible “information to the factfinder. See Williams v. Illinois, 567 U.S. 50, 69

(2012) (plurality opinion). “When the judge sits as the trier of fact, it is presumed that the judge

will understand the limited reason for the disclosure of the underlying inadmissible information

and will not rely on that information for any improper purpose.” See id.; U.S. Bank, Nat’l Ass’n

v. UBS Real Estate Sec. Inc., 205 F. Supp. 3d 386, 454–55 (S.D.N.Y. 2016) (citation omitted).

At least some of the challenged exhibits already have been relied upon by the parties’ experts.

See DX-0015 to DX-0016; DX-0026; DX-0031 to DX-0033; DX-0755 to DX-0759; DX-0765 to




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DX-0767; DX-0769; DX-0775. And others may be used as expert discovery progresses or at

trial. It would be premature to exclude third-party materials that could be used to examine expert

witnesses in deposition or at trial. Plaintiffs’ motion therefore should be denied or deferred. 1

       Nothing in United States v. AT&T Inc., 310 F. Supp. 3d 161 (D.D.C. 2018) is to the

contrary. It is true that the court in AT&T “generally instructed the parties to seek admission of

documents through sponsoring witnesses.” Id. at 186–87. But that general rule applied to all

exhibits, not just third-party exhibits, and it did not apply across the board: “[t]here was not a

uniform rule mandating sponsorship of documents by witnesses,” and the court made exceptions

on a case-by-case basis. Id. at 186–87 n.12. What the court in AT&T did not do is what

Plaintiffs effectively request here—a broad pre-trial ruling excluding dozens upon dozens of

exhibits outside the context of the trial. Waiting until an exhibit is offered will put the Court in a

better position to understand an exhibit’s context, evaluate its foundation and relevance, and

determine whether it constitutes hearsay. See 1443 Chapin St., 2012 WL 13225423, at *1.

Deferring a ruling on the 99 exhibits in Plaintiffs’ motion will preserve the time and resources of

the parties and the Court, and for that reason, Plaintiffs’ motion should not be granted.

                                          CONCLUSION

       Plaintiffs’ effort to categorically exclude certain third-party produced documents is

overbroad, premature, and meritless. The Court should deny Plaintiffs’ motion in limine or defer

ruling on it unless and until such exhibits are offered into evidence.




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       UHG and Change do not presently intend to offer DX-0009 to DX-0011, DX-0013, and
DX-0027 into evidence. Plaintiffs’ motion therefore should be denied without prejudice as to
these documents, with Plaintiffs reserving any right to object to the introduction of these
documents if they ultimately are offered into evidence.



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Dated: July 20, 2022                                Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 20th day of July 2022, a copy of the

foregoing Defendants’ Opposition to Plaintiffs’ Motion in Limine to Exclude Defendants’

Exhibits of Non-Testifying Third Party Witnesses was electronically transmitted to the Clerk of

Court using the CM/ECF system, which will transmit notification of such filing to all registered

participants.




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